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Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
Numbers, State Bar Number & Email Address

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                                                                                                          Central District of California
SBN: 90738                                                                                                BY wesley DEPUTY CLERK

     Debtor appearing without attorney
     Attorney for: Debtor

                                        UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

In re:                                                                      CASE NUMBER: 2:20-bk-13033-BB
                                                                            CHAPTER: 7

MODESTA CARIDAD LLIZO                                                             ORDER       GRANTING        DENYING
                                                                                DEBTOR’S MOTION TO AVOID LIEN UNDER
                                                                                   11 U.S.C.§ 522(f) (REAL PROPERTY)

                                                                               No hearing held
                                                                               Hearing held
                                                                            DATE:
                                                                            TIME:
                                                                            COURTROOM:
                                                                            ADDRESS:


                                                             Debtor(s).

Creditor Holding Lien to be Avoided (name): BAG FUND, LLC.

The Motion was:                 Opposed                Unopposed                 Settled by stipulation
Pursuant to 11 U.S.C. § 522(f), Debtor moved to avoid a judicial lien on real property claimed to be exempt. The court
finds and orders as follows:
1.        Notice of this Motion complied with LBR 9013-1(d).
2.        Notice of this Motion complied with LBR 9013-1(o).
     a.       There was no opposition and request for hearing.
     b.       Hearing requested and held as indicated in the caption.
3.        Motion granted as set forth in the Attachment to this order.

4.        Motion denied on the following grounds:                     with prejudice            without prejudice


                  “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
      “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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     a.       Insufficient notice
     b.       Insufficient evidence of the exempt status of the property in question
     c.       Failure to comply with FRBP 7004(b)(3) or FRBP 7004(h).
     d.       Insufficient evidence of fair market value.
     e.       Motion is incomplete.
     f.       Other (specify):
5.        The court further orders as follows (specify):

              See attached page

                                                                         ###




                Date: April 13, 2021




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                                   ATTACHMENT TO MOTION/ORDER
                (11 U.S.C. § 522(f): AVOIDANCE OF REAL PROPERTY JUDICIAL LIENS)
This court makes the following findings of fact and conclusions of law:

1. Creditor Lienholder/Servicer: BAG FUND, LLC

2. Subject Lien: Date (specify): 7/3/2006 and place (specify): Los Angeles County Recorder of recordation of lien;
   Recorder's instrument number or document recording number: 031470937.

    3. Collateral: Street address, legal description and/or map/book/page number, including county of recording: 7604
       Stewart and Gray Road, Unit #A, Downey, CA 90241.

Legal Description:
THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF DOWNEY, COUNTY OF LOS ANGELES,
STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

A CONDOMINIUM COMPRISED OF:

PARCEL 1:

AN UNDIVIDED 1/8TH INTEREST IN AN TO ALL THAT PORTION OF LOT 1 OF TRACT MAP NO 53073, IN THE CITY
OF DOWNEY, COUNTY LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 1251, PAGES
24 AND 25 OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, SHOWN AND DEFINED AS
“COMMON AREA” ON THE CONDOMINIUM PLAN RECORDED FEBRUARY 20, 2001, AS INSTRUMENT/FILE NO. 01-
0280546, OF OFFICIAL RECORDS OF SAID COUNTY

EXCEPTING THEREFROM EASEMENTS, AS SUCH EASEMENTS ARE SET FORTH IN THE DECLARATION OF
COVENANTS, CONDITIONS AND RESTRICTIONS RECORDED FEBRUARY 20, 2021, AS INSTRUMENT/FILE NO. 01-
0280547, OF OFFICIAL RECORDS OF SAID COUNTY, AND ANY NOW OR HEREAFTER RECORDED AMENDMENTS
THERETO.

PARCEL 2:

ALL THAT PORTION OF LOT OF TRACT MAP NO. 53073 SHOWN AND DEFINED AS UNIT NO. 5 ON SAID
CONDOMINIUM PLAN.

PARCEL 3:

NON-EXCLUSIVE EASEMENTS FOR BENEFIT OF AND APPURTENANT TO PARCELS 1 AND 2 ABOVE, SUCH
EASEMENTS ARE SET FORTH IN THE DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS
RECORDED FEBRUARY 20, 2001, AS INSTRUMENT/FILE NO. XX-XXXXXXX, OF OFFICIAL RECORDS OF SAID
COUNTY, AND ANY NOW OR HEREAFTER RECORDED AMENDMENTS THERETO (THE “DECLARATION”).

APN: 6242-013-046

EXCEPT THEREFROM all oil, gas, minerals, and other hydrocarbon substances lying below the surface of said
land, but with no right of surface entry, as provided in Deeds of Record. See attached page.

4. Secured Claim Amount
      a. Value of Collateral: ………………………………………………………………………… $455,000.00)
      b. Amounts of Senior Liens (reducing equity in the property to which the Subject Lien can attach):
              (1) First lien: ……………………………………….………. ($336,101.81)
              (2) Second lien: …………………………………………… ($22,687.76)
              (3) Third lien: ……………………………………………… ($0,00)
              (4) Additional senior liens (attach list): ……….……….. ($0,00)
      c. Amount of Debtor’s exemption(s): ……………………………. ($175,000,00)
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        d. Subtotal: ……………………………………………………………………………………….                                                                  ($533,789.57)
        e. Secured Claim Amount (negative results should be listed as -$0-):                                              $0

        Unless otherwise ordered, any allowed claim in excess of this Secured Claim Amount is to be treated as a
        nonpriority unsecured claim and is to be paid pro rata with all other nonpriority unsecured claims (in Chapter 13
        cases, Class 5A of the Plan).

5. Lien avoidance: Debtor’s request to avoid the Subject Lien is granted as follows. The fixing of the Subject Lien
   impairs an exemption to which Debtor would otherwise be entitled under 11 U.S.C. § 522(b). The Subject Lien is not
   a judicial lien that secures a debt of a kind that is specified in 11 U.S.C. § 523(a)(5) (domestic support obligations).
   The Subject Lien is void and unenforceable except to the extent of the Secured Claim Amount, if any, listed in
   paragraph 4.e. above.

   See attached page(s) for more liens/provisions.




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